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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ORIENT OVERSEAS CONTAINER LINE, LTD.,
                                                             Case No.
                Plaintiff,
                                                             Judge
        v.
                                                             Magistrate Judge
 BNSF RAILWAY COMPANY and BURLINGTON
 NORTHERN SANTA FE, LLC,

                Defendants.


                      CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, the undersigned

counsel for Plaintiff Orient Overseas Container Line, Ltd. (“OOCL Ltd.”) hereby certifies that the

following listed parties may have a pecuniary interest in the outcome of this case. These

representations are made to enable the Court to evaluate possible disqualification or recusal:

       OOCL Ltd.’s parent company is OOCL (Liners) Holdings Limited, a private company

limited by shares based in Hong Kong, and no publicly held corporation owns more than 10% of

OOCL Ltd.’s stock.
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DATED: May 2, 2022                         Respectfully submitted,

                                           /s/ Trevor Illes
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